Case 2:24-cv-00732-ECM   Document 22-5   Filed 01/15/25   Page 1 of 42




                           EXHIBIT E
               Redacted Nitrogen Execution Protocol
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1 2ofof4142




       Exhibit B
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2 3ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3 4ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page4 5ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page5 6ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page6 7ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page7 8ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page8 9ofof4142
 Case
Case   2:22-cv-00497-RAH Document
     2:24-cv-00732-ECM   Document 22-5
                                  104-2 Filed
                                        Filed 01/15/25
                                              08/25/23 Page
                                                        Page910
                                                              of of
                                                                 4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1011ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1112ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1213ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1314ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1415ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1516ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1617ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1718ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1819ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page1920ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2021ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2122ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2223ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2324ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2425ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2526ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2627ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2728ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2829ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page2930ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3031ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3132ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3233ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3334ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3435ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3536ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3637ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3738ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3839ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page3940ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page4041ofof4142
 Case2:24-cv-00732-ECM
Case  2:22-cv-00497-RAH Document 104-2
                                 22-5 Filed 08/25/23
                                            01/15/25 Page
                                                      Page4142ofof4142
